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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                           ORDER

       Based on the parties’ Joint Proposal to Address Confidential Information in Post-Hearing

Submissions, ECF No. 1312, the court orders the following with regard to further proceedings in

this matter:

       1.      By May 16, 2025, the parties shall file under seal their opening post-hearing

               submissions.

               a.     If a party quoted or described in its opening post-hearing submissions any

                      information not previously disclosed publicly at the hearing that a non-

                      party maintained as Confidential or Highly Confidential, then, starting on

                      May 16, 2025, the party may begin to provide the applicable non-party
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             with notice of the information quoted or described so that the non-party

             may identify any redactions it contends are warranted.

      b.     A non-party shall provide proposed redactions to information quoted or

             described in the parties’ opening post-hearing submissions within 96

             hours (four days) of receiving a notice referenced in Paragraph 1(a).

 2.   By May 21, 2025, the parties shall file public, redacted versions of the opening

      Combined Briefs & Proposed Conclusions of Law that apply existing

      confidentiality designations.

 3.   By May 23, 2025, the parties shall file under seal their responsive post-hearing

      submissions.

      a.     If a party quoted or described in its responsive post-hearing submissions

             any information not previously disclosed publicly at the hearing that a non-

             party maintained as Confidential or Highly Confidential, then, starting on

             May 23, 2025, the party may begin to provide the applicable non-party

             with notice of the information quoted or described so that the non-party

             may identify any redactions it contends are warranted.

      b.     A non-party shall provide proposed redactions to information quoted or

             described in the parties’ responsive post-hearing submissions within 96

             hours (four days) of receiving a notice referenced in Paragraph 3(a).

 4.   By May 26, 2025, Google shall provide proposed redactions to Confidential or

      Highly Confidential Information in Plaintiffs’ opening post-hearing submissions.




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      5.     By May 27, 2025, Google shall provide proposed redactions to Confidential or

             Highly   Confidential   Information    in   Plaintiffs’ responsive post-hearing

             submissions.

      6.     One day prior to the start of closing arguments, the parties shall file public,

             redacted versions of their opening and responsive post-hearing submissions that

             are consistent with the court’s guidance and United States v. Hubbard, 650 F.2d

             293 (D.C. Cir. 1980).

      7.     By June 13, 2025, the parties shall provide the court with hyperlinked versions of

             their opening and responsive post-hearing submissions.




Dated: May 14, 2025                                      Amit P. Mehta
                                                   United States District Judge




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